Case 23-61742-bem       Doc 247    Filed 03/07/25 Entered 03/07/25 18:10:10          Desc Main
                                  Document      Page 1 of 4




   IT IS ORDERED as set forth below:



   Date: March 7, 2025
                                                         _________________________________

                                                                  Barbara Ellis-Monro
                                                             U.S. Bankruptcy Court Judge

 ________________________________________________________________
              IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
 IN RE:                        :
                               :    CHAPTER 11
 ARC MANAGEMENT GROUP, LLC, :
                               :    Case No. 23-61742 - BEM
          Debtor.              :

  ORDER SHORTENING NOTICE AND SCHEDULING EXPEDITED HEARING ON
 EMERGENCY MOTION BY CHAPTER 11 TRUSTEE FOR AN ORDER APPROVING
  MODIFICATION OF SETTLEMENT AND REQUEST FOR EXPEDITED HEARING
    AND EMERGENCY MOTION BY CHAPTER 11 TRUSTEE FOR AN ORDER
   CONVERTING THE CHAPTER 11 CASE OF THE DEBTOR TO A CASE UNDER
          CHAPTER 7 AND REQUEST FOR EXPEDITED HEARING

        PLEASE TAKE NOTICE that S. Gregory Hays, as Chapter 11 Trustee (“Trustee”) for

 the bankruptcy estate of ARC Management Group, LLC, Debtor (the “Debtor”) in the above

 captioned case (the “Case”), has filed an Emergency Motion by Chapter 11 Trustee for an Order

 Approving Modification of Settlement and Request for Expedited Hearing [Doc. No. 245] (the

 “Amendment Motion”) in which the Trustee requests that the Court hear and consider on an

 expedited basis the request in the Amendment Motion to modify the Settlement and Release

 Agreement dated August 16, 2024 by and among the Debtor, Flock Financial, LLC, WebBank,

 Libertas Funding, LLC, SuperB Capital, LLC, and Lendspark Corporation. The Trustee has also
Case 23-61742-bem        Doc 247    Filed 03/07/25 Entered 03/07/25 18:10:10             Desc Main
                                   Document      Page 2 of 4



 filed an Emergency Motion by Chapter 11 Trustee for an Order Converting the Chapter 11 Case

 of the Debtor to a Case under Chapter 7 and Request for Expedited Hearing [Doc. No. 246] (the

 “Conversion Motion” and collectively with the Amendment Motion, the “Motions”) in which

 the Trustee requests that the Court hear and consider the request in the Conversion Motion to

 convert the Case on an expedited basis. 1 Upon consideration of the Motions, and the other matters

 reflected in the record and after due deliberation thereon and good and sufficient cause appearing

 therefor, the Court hereby Grants the Motions as set forth below.

        IT IS ORDERED AND NOTICE IS FURTHER GIVEN that a hearing (the “Hearing”)

 on the Motions will be held before the Court at 1:30 p.m. on March 13, 2025, in Courtroom

 1402, United States Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303, which

 may be attended in person or via the Court’s Virtual Hearing Room. You may join the Virtual

 Hearing Room through the “Dial-In and Virtual Bankruptcy Hearing Information” link at the top

 of the homepage of the Court’s website, www.ganb.uscourts.gov, or the link on the judge’s

 webpage, which can also be found on the Court’s website. Please also review the “Hearing

 Information” tab on the judge’s webpage for further information about the hearing. You should

 be prepared to appear at the hearing via video, but you may leave your camera in the off position

 until the Court instructs otherwise. Unrepresented persons who do not have video capability may

 use the telephone dial-in information on the judge’s webpage.

        IT IS ORDERED AND NOTICE IS FURTHER GIVEN that your rights may be affected

 by the Court’s ruling on the Motions. You should read these pleadings carefully and discuss them

 with your attorney, if you have one in this Case. (If you do not have an attorney, you may wish to




 1
   All capitalized, but undefined terms used herein shall be given the meaning ascribed to them in
 the Motions.
                                                 2
Case 23-61742-bem        Doc 247     Filed 03/07/25 Entered 03/07/25 18:10:10             Desc Main
                                    Document      Page 3 of 4



 consult one.) If you do not want the Court to grant the relief sought in these pleadings or if you

 want the Court to consider your views, then you and/or your attorney must attend the Hearing and

 file on or before 5 p.m. on March 12, 2025 (the “Objection Deadline”), a written response to the

 Motions with the Clerk at the address below. If you file a written response, you must attach a

 certificate stating when, how and to whom (including addresses) you served the response. Mail or

 deliver your response so that it is received by the Clerk before the Objection Deadline. The address

 of the Clerk's Office is Clerk, U. S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta

 Georgia 30303. You must also mail a copy of your response to the undersigned at Law Offices of

 Henry F. Sewell, Jr., LLC, Attn: Henry F. Sewell, Jr., 2964 Peachtree Road, NW, Suite 555, Atlanta,

 Georgia 30305.

        IT IS FURTHER ORDERED that copies of this Order and Notice of Hearing and the

 Motions shall be available as follows: 1) upon request of counsel for the Trustee; and 2) in the

 office of the Clerk, U.S. Bankruptcy Court between 8:00 a.m. and 4:00 p.m. or online anytime

 at http://ecf.ganb.uscourts.gov (registered users) or at http://pacer.psc.uscourts.gov (unregistered

 users) and that no further notice shall be required.

        IT IS FURTHER ORDERED that counsel for the Trustee shall serve a copy of this Order

 and Notice of Hearing and the Motions by hand delivery, facsimile, electronic mail (if available),

 overnight courier (when a street address is available), or by next-day United States mail upon: 1)

 the Office of the United States Trustee; 2) counsel for the Debtor; and 3) parties requesting notice

 pursuant to Bankruptcy Rule 2002. A copy of this Order and Notice shall also be mailed to all

 creditors and parties in interest. No further notice is necessary and counsel for the Trustee shall

 promptly file a Certificate of Service with this Court evidencing such service.




                                                  3
Case 23-61742-bem       Doc 247     Filed 03/07/25 Entered 03/07/25 18:10:10        Desc Main
                                   Document      Page 4 of 4



        IT IS FURTHER ORDERED that the Court shall retain jurisdiction with respect to

 all matters arising from or related to the implementation, interpretation, and/or enforcement

 of this Order and Notice of Hearing.

                                  ***END OF DOCUMENT***


 Prepared and Presented By:

 LAW OFFICES OF HENRY F. SEWELL JR., LLC

 /s/ Henry F. Sewell, Jr.
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                                    DISTRIBUTION LIST

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